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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

                                *
 CYRIL VETTER and VETTER        *
 COMMUNICATIONS CORP            *
                                *
                                *
 VERSUS                         * CIVIL ACTION: 3:23-CV-01369-SDD-EWD
                                *
                                *
 ROBERT RESNIK individually and *
 d/b/a RESNIK MUSIC GROUP       *
                                *
 ***************************

                            MEMORANDUM IN OPPOSITION TO
                            DEFENDANT’S MOTION TO DISMISS

       The plaintiffs, Cyril Vetter and Vetter Communications Corp, by and through undersigned

counsel, respectfully submit this memorandum in opposition to the Motion to Dismiss (R. Doc.

12) filed by the defendant, Robert Resnik. While the defendant exerts considerable energy

attempting to paint the legal issues at bar as “well-settled,” they are anything but. Nowhere is that

truer than in this Circuit, where no court has ruled, explored, or even touched upon the

geographical scope of copyright renewal and reversion rights. Indeed, this Court has a blank

canvas on which to evaluate the parties’ respective arguments. The defendant’s interpretation of

the law may be popular in academic circles and publishing industry board rooms, but that does not

make it correct. In fact, the position advanced by the defendant is inconsistent with the text, intent,

and objectives of United States copyright law. Accordingly, it should be rejected by the Court and

the Motion to Dismiss should be denied.

                                            Background

       The facts of this case are unique (if not unprecedented) because they require the Court to

determine both the scope of renewal rights in the 1909 Copyright Act (the “1909 Act”) as well as

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reversion rights in its statutory successor, the 1976 Copyright Act (the “1976 Act”). Both renewals

and reversions were crafted by Congress as essential protections for authors who often assign or

license away their rights for relatively little (or even nothing) in return. Rather than have courts

police the equity of every bargain on the front end, Congress gave authors the power to later

“recapture” the copyright they transferred away. At their core, the renewal system under the 1909

Act and reversion rights under the 1976 Act reflect an unparalleled commitment to “safeguarding

authors against unremunerative transfers.”1

        Cyril Vetter and Don Smith made exactly the sort of unremunerative transfer that Congress

sought to ameliorate. As fully detailed in the Complaint, in 1963, without any legal representation

or understanding of the music publishing industry, Mr. Vetter and Mr. Smith were coaxed into

signing an agreement (the “1963 Assignment”) with Windsong Music Publishers, Inc.

(“Windsong”) in which they sold their copyright interest in “Double Shot (Of My Baby’s Love)”

(“Double Shot”).2 The purchase price paid by Windsong for the Double Shot copyright? A

lonesome dollar.3 In 1966, Windsong filed for copyright registration of Double Shot with the

Copyright Office, which, pursuant to the 1909 Act, secured federal copyright protection for Double

Shot for an initial 28 years (the “Original Copyright”).4 Mr. Smith died unexpectedly in 1972, but

the commercial success of his work lived on.5

        In 1994, at the conclusion of the Original Copyright’s duration, Mr. Vetter along with Mr.

Smith’s heirs obtained a new, independent copyright for Double Shot pursuant to the renewal

provisions of the 1909 Act (the “Renewal Copyright”).6 However, both Mr. Vetter and Mr. Smith


1
  See H.R. Rep. No. 94-1476, at 124 (1976), available at 1976 WL 14045 (hereinafter “1976 House Report”).
2
  R. Doc. 1, ¶ 57.
3
  Id. at ¶ 59.
4
  Id. at ¶ 64.
5
  Id. at ¶ 65.
6
  Id. at ¶ 73.

                                                       2
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had promised in the 1963 Assignment to transfer the Renewal Copyright to Windsong.7 The

Supreme Court’s controversial decision in Fred Fisher Music Co. v. M. Witmark & Sons, 318 U.S.

643 (1943) meant that, because Mr. Vetter was alive when the renewal period commenced, his

promise to Windsong was enforceable.8 Conversely, because Mr. Smith did not survive, his heirs

received his interest in the Renewal Copyright (the “Renewal Copyright Interest”) free and clear

from any rights previously granted to Windsong. Vetter Communications later acquired the

Renewal Copyright Interest from Mr. Smith’s heirs.9

         Congress ultimately eschewed the dual terms of copyright protection in the 1976 Act in

favor of a unitary term of protection based on the life of the author. With that choice, Congress

had to devise a new mechanism to provide authors with a second chance to benefit fully from the

fruits of their creative labor. Sections 203 and 304(c) of the 1976 Act10 were crafted to provide

this second chance through a “termination” or “reversion” right that may be exercised by an author

(or the author’s heirs) to recapture a copyright previously bargained away. Section 203 applies to

works created under the 1976 Act, whereas Section 304(c) applies to works, like Double Shot,

created under the 1909 Act. The statutory provisions are generally analogous.11

         Pursuant to Section 304(c), Mr. Vetter’s contractually obligated transfer of the Renewal

Copyright to Windsong was subject to termination 56 years after the date the Original Copyright

was secured; in other words, 2022, which is 56 years from 1966. On March 20, 2019, Mr. Vetter




7
  Id. at ¶ 58.
8
  The defendant accuses the plaintiffs of citing Fred Fisher for a proposition for which it does not stand. R. Doc. 12-
1, at n.11. The accusation is surprising for a number of reasons, but not the least of which is that the Supreme Court
has expressly stated that Fred Fisher holds that “[a]n assignment by an author of his renewal rights made before the
original copyright expires is valid against the world, if the author is alive at the commencement of the renewal period.”
Miller Music Corp. v. Charles N. Daniels, Inc., 362 U.S. 373, 375 (1960) (emphasis added).
9
  R. Doc. 1, ¶ 76.
10
   17 U.S.C. §§ 203, 304.
11
   1976 House Report, at 140.

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transmitted a Section 304(c) termination notice (the “Termination Notice”) to Windsong as well

as Lyresong Music, Inc. (“Lyresong”), a music publisher who acquired a portion of Windsong’s

interest in the Renewal Copyright in 1996.12 The Termination Notice informed Windsong and

Lyresong that, effective May 3, 2022 (the “Reversion Date”), Mr. Vetter was terminating “all

authorship/ownership rights originally granted and conveyed” pursuant to the 1963 Assignment

(the “Terminated Copyright Interest”).13 At no point did Windsong or Lyresong challenge or

contest the Termination Notice, including the scope of the Terminated Copyright Interest identified

therein.14 On August 20, 2019, the owner of Windsong informed the plaintiffs that the company

and its assets had been sold to the defendant.15 On the Reversion Date, nearly 60 years after Mr.

Vetter assigned Double Shot to Windsong, he got his rights back.16

        The celebration was short-lived, unfortunately. It quickly became clear that the defendant

did not intend to relinquish claim to Double Shot. Specifically, the defendant took (and continues

to take) the position that the plaintiffs may only exploit Double Shot within the strict confines of

the United States.17 As to the other 180 countries with which the United States has copyright

relations,18 the defendant argues that the plaintiffs have no right to control or exploit Double Shot

in any of them. In other words, any licensing or exploitation opportunity which is not

geographically limited to the United States (which describes many modern copyright uses) requires

the defendant’s continued involvement, consent, and financial participation.19


12
   R. Doc. 1, ¶¶ 80, 84.
13
   Id. at ¶ 85.
14
   Id. at ¶ 88.
15
   Id. at ¶ 89.
16
   Id. at ¶ 92.
17
   Id. at ¶ 100.
18
    United States Copyright Office, Circular 38A, International Copyright Relations of the United States (2023),
available at http://www.copyright.gov/circs/circ38a.pdf (hereinafter “Copyright Office Circular”).
19
   Including a current opportunity for a worldwide synchronization license of Double Shot for use in the television
show, Moonlighting. R. Doc. 1, ¶¶ 93-95.

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       The plaintiffs have asked the Court to declare them the sole owners of the Double Shot

copyright. The defendant did not answer the Complaint, but instead filed the Motion to Dismiss.

Stated summarily, the defendant’s position in the Motion to Dismiss is this: what Mr. Vetter and

Mr. Smith transferred away in 1963 for a dollar can never be fully recaptured. As detailed herein,

that result cannot be what Congress had in mind when it sought to protect authors against

permanent assignments made in exchange for a pittance. Accordingly, and for the reasons below,

the Court should reject the defendant’s position and deny the Motion to Dismiss.

                                          Legal Standard

       Motions to dismiss pursuant to Rule 12(b)(6) are viewed with disfavor and are rarely

granted. Lormand v. US Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009) (citing Test Masters

Educ. Servs., Inc. v. Singh, 428 F.3d 559, 570 (5th Cir. 2005)). To survive a Rule 12(b)(6) motion,

a plaintiff must only plead “enough facts to state a claim to relief that is plausible on its face.” In

re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). The relevant question is not whether a plaintiff is likely to

succeed on the claims, but whether a complaint contains any legally cognizable claims that are

plausible. Jones v. Greninger, 188 F.3d 322, 324 (5th Cir. 1999). In evaluating whether a plaintiff

has met this threshold, a court may properly consider the complaint, its attachments, documents

incorporated into the complaint by reference, and matters of which a court may take judicial notice.

Franklin v. Jenn’s Angels, LLC, 2022 WL 69213, at *1 (M.D. La. Jan. 6, 2022) (Dick, C.J.) (citing

Randall D. Wolcott, M.D., P.A. v. Sebelius, 635 F.3d 757, 763 (5th Cir. 2011)). All well-pleaded

facts must be accepted as true and viewed in a light most favorable to the plaintiff. City of Clinton

v. Pilgrim’s Pride Corp., 632 F.3d 148, 152-53 (5th Cir. 2010). However, a court is not obligated

to show such favorability to a plaintiff’s legal conclusions or otherwise imbue a plaintiff’s legal



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theories with a presumption of validity. Franklin, 2022 WL 69213, at *2 (citing Twombly, 550

U.S. at 555). That said, a court should be particularly reluctant to grant a Rule 12(b)(6) motion

where (as here) the claim in question asserts a novel theory of recovery. Such a claim is “best

tested for legal sufficiency in light of actual, rather than alleged facts.” Sosa v. Coleman, 646 F.2d

991, 993 (5th Cir. 1981) (citing Shull v. Pilot Life Ins. Co., 313 F.2d 445, 447 (5th Cir. 1963)).

Ultimately, “the court should not dismiss the claim unless the plaintiff would not be entitled to

relief under any set of facts or any possible theory that he could prove consistent with the

allegations in the complaint.” Jones, 188 F.3d at 324.

                                                     Analysis

           As applied here, the foregoing standard does not warrant dismissal of the Complaint. Count

One and Count Two both state cognizable claims which are plausible, if relatively novel. The

plausibility of each claim is addressed below.

       1. International Copyright Protection and the Principle of Territoriality

           Before addressing the viability of Count One and Count Two directly, however, a

discussion of international copyright protection and the principle of territoriality is necessary.

                   A. International Treaties and Conventions

           To begin, there is no such thing as an “international copyright.”20 Instead, jurisdictions

must choose to extend domestic copyright protection to works of foreign origin. See Golan v.

Holder, 565 U.S. 302, 332 (2012) (“Congress broke new ground when it extended copyright

protection to foreign works in 1891.”). Most frequently, domestic protections are extended to

works of foreign origin by way of treaty and convention obligations.21 The United States is a

signatory to numerous copyright treaties, conventions, and trade agreements, including the


20
     See Copyright Office Circular, supra note 18.
21
     Id.

                                                        6
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Universal Copyright Convention (“UCC”), the Agreement on Trade-Related Aspects of

Intellectual Property Rights (“TRIPS”), and the Berne Convention for the Protection of Literary

and Artistic Works (“Berne Convention”).22

        The Berne Convention23 presently has 181 member states24 and is widely considered to be

“the principal accord25 governing international copyright relations.” Golan, 565 U.S. at 306-07.

The primary functions of the Berne Convention are to ensure, first, that each member state

maintains certain minimum standards of copyright protection and, second, that each member state

treats authors from other member countries at least as well as they treat their own. Golan, 565 U.S.

at 308. The Berne Convention was implemented in 1989 by Congress,26 with subsequent

legislative efforts (in response to the United States entering into TRIPS in 1994) to shore up

compliance therewith. Golan, 565 U.S. at 309-314. While the Defendant is correct that the Berne

Convention is not considered self-executing,27 this does not render its provisions irrelevant.

Among other things, its provisions can aid in the interpretation of domestic laws (including federal

common law) which are intended by Congress to implement and comply with the Berne

Convention’s requirements. See Itar-Tass Russian News Agency v. Russian Kurier, Inc., 153 F.3d

82, 90 (2d Cir. 1998); Carell v. Shubert Org., Inc., 104 F. Supp. 2d 236, 259 (S.D.N.Y. 2000).




22
   Id.
23
   Berne Convention for the Protection of Literary and Artistic Works, Sept. 9, 1886, as revised at Paris on July 24,
1971 and amended in 1979, available at https://www.wipo.int/wipolex/en/text/283698.
24
   See Copyright Office Circular, supra note 18.
25
   Indeed, the UCC contains a provision that explicitly recognizes the Berne Convention’s supremacy where a country
(e.g., the United States) is a member of both agreements. See Universal Copyright Convention, September 6, 1952, 6
U.S.T. 2731, 216 U.N.T.S. 132, available at https://www.unesco.org/en/legal-affairs/universal-copyright-convention-
appendix-declaration-relating-article-xvii-and-resolution-concerning.
26
   The Berne Convention Implementation Act of 1988, Pub. L. No. 100-568 § 2, 102 Stat. 2853-2861 (Oct. 31, 1988),
codified at 17 U.S.C. §101 et seq. (hereafter, the “BCIA”).
27
   R. Doc. 12-1, at 7. To be clear, the Supreme Court has not directly ruled on whether the Berne Convention is self-
executing. However, in Golan, the Court recognized that the Berne Convention’s implementation in the United States
required legislative action, which implies that it is not self-executing per Medellin v. Texas, 552 U.S. 491 (2008).

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                   B. The Principle of Territoriality

           It is often said that United States copyright law has no “extraterritorial effect.” See, e.g.,

Impression Prod., Inc. v. Lexmark Int’l, Inc., 581 U.S. 360, 379 (2017). The danger in leaning too

heavily on this phrase is that “[t]he meaning of ‘territorial’ and hence ‘extraterritorial’ is purely

conventional, and these words have therefore been used in different ways at different times and in

different contexts.”28 One such meaning refers to the longstanding principle that “unless a contrary

intent appears, [legislation of Congress] is meant to apply only within the territorial jurisdiction of

the United States.” Foley Bros. v. Filardo, 336 U.S. 281, 285 (1949). This principle acts as a

presumption against applying domestic law to what is purely foreign conduct. Microsoft Corp. v.

AT&T Corp., 550 U.S. 437, 439 (2007). In copyright jurisprudence, this principle has been used

to refuse application of the Copyright Act to acts of purely extraterritorial infringement. See, e.g.,

Geophysical Serv., Inc. v. TGS-NOPEC Geophysical Co., 850 F.3d 785, 791 (5th Cir. 2017). Some

courts view this principle as a jurisdictional limitation. See, e.g., Palmer v. Braun, 376 F.3d 1254,

1258 (11th Cir. 2004). The Fifth Circuit does not, but instead views “the reach of the Copyright

Act to territorial conduct [as] a question of the merits of the claim, not the jurisdiction of the court.”

Geophysical Serv., Inc., 850 F.3d at 791. Relatedly, the principle of territoriality has also been

cited by courts within the United States as a choice of law device to select and apply foreign law

to acts of infringement which occur outside of the United States. See, e.g., Armstrong v. Virgin

Recs., Ltd., 91 F. Supp. 2d 628, 637 (S.D.N.Y. 2000). Other times still, “territoriality” has been

referred to as a “rule” that is implicated by the requirement of national treatment under the UCC

and the Berne Convention. See, e.g., Creative Tech., Ltd. v. Aztech Sys. Pte., Ltd., 61 F.3d 696,

700-01 (9th Cir. 1995). Outside of copyright, in other areas of intellectual property law, not only



28
     Larry Kramer, Vestiges of Beale: Extraterritorial Application of American Law, 1991 Sup. Ct. Rev. 179, 181.

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are the laws governing protection viewed as lacking “extraterritorial effect,” but the subject matter

of the protection itself is also referred to as being “territorial” to indicate that its very existence

(and thus, any right to protection) must be independently established in each country where

protection is sought. See, e.g., Abitron Austria GmbH v. Hetronic Int’l, Inc., 600 U.S. 412, 426

(2023) (referring to trademarks as “territorial” and thus separate and independent in each country);

Levi Strauss & Co. v. AmericanJeans.com, Inc., 2011 WL 1361574, at *3 (N.D. Cal. Apr. 11,

2011) (“Like patents, trademarks are territorial, as they exist in each country solely according to

that country’s statutory scheme.”) (internal quotations omitted).29

         Against this backdrop of differing meanings ascribed to the principle of territoriality, the

defendant accuses the plaintiffs of uniquely misunderstanding the concept,30 then goes on to state

confidently (but without citation) that “the territoriality principle recognizes that copyright

protection in one country does not extend to or affect protection in any other country.”31 To the

extent that the defendant is simply observing that the rights specifically enumerated in the

Copyright Act (e.g., 17 U.S.C. § 106) cannot provide a remedy for infringing conduct occurring

elsewhere, the plaintiffs would agree. However, the plaintiffs’ claims here are not about conduct,

they are about rights. As discussed in detail below, courts treat questions of copyright ownership

quite differently from questions of copyright infringement. “[O]wnership is determined by the law

of the country in which the work is created but infringement is governed by the law where the

infringement took place.” Edmark Indus. SDN. BHD. v. S. Asia Int’l (H.K.) Ltd., 89 F. Supp. 2d

840, 843 (E.D. Tex. 2000) (citing Itar–Tass Russian News Agency v. Russian Kurier, Inc., 153

F.3d 82 (2d Cir.1998)). Given the distinction between claims regarding conduct and claims


29
   The “territorial” nature of patents and trademarks versus copyrights in this regard is addressed further below.
30
   R. Doc. 12-1, at 1-2. Notably, Professor Patry is upfront in acknowledging that “territoriality” is susceptible to
different meanings. 7 William Patry, Patry on Copyright § 25:18 (2007).
31
   Id. at 6-7 (emphasis added).

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regarding ownership, to the extent the defendant argues that the principle of territoriality prevents

ownership events occurring in one country (e.g., renewal or reversion) from having any effect or

consequence in another country, that argument relies on a vast overstatement of the principle.32

                 C. Single Copyright Interest vs. Multiple Copyright Interests

         Importantly, the principle of territoriality as applied to copyrights most certainly does not

provide a basis for the defendant’s posit that there are “multiple and separate copyright interests

in each country” with which the United States maintains copyright relations.33 This statement finds

no support in the Copyright Act, the Berne Convention, or the jurisprudence interpreting either.

                          i.    The Berne Convention

         Starting with the Berne Convention, although the text does not explicitly state that there is

only a single copyright, it does distinguish between the existence (i.e., origination) of rights in the

country of origin and the enjoyment of foreign protections everywhere else.34 This is consistent

with the notion that domestic protections are simply extended and made available to foreign-origin

copyrights by way of national treatment obligations. Moreover, when compared to the language

of the Paris Convention for the Protection of Industrial Property (“Paris Convention”)35 governing

patents and trademarks, it seems abundantly clear that the Berne Convention does not contemplate

“multiple” and “separate” copyright interests. Regarding patents, the Paris Convention states:

“Patents applied for in the various countries of the Union by nationals of countries of the Union

shall be independent of patents obtained for the same invention in other countries, whether


32
   Later, the defendant refers to copyright as “territorial” for the proposition that “U.S. copyright law [has] no reach
outside U.S. borders.” Id. at 15. This, too, is an overstatement of the principle, and one that has been rejected by the
Supreme Court. See Kirtsaeng v. John Wiley & Sons, Inc., 568 U.S. 519, 532 (2013) (citing Professor Nimmer for the
proposition that the territoriality principle “requires some qualification.”).
33
   R. Doc. 12-1, at 8.
34
   Berne Convention, supra note 23, art. 5(2).
35
   Paris Convention for the Protection of Industrial Property, July 14, 1967, 21 U.S.T. 1583, T.I.A.S. No. 6923,
available at https://www.wipo.int/wipolex/en/text/288514#P147_20484.

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members of the Union or not.”36 Regarding trademarks, the Paris Convention states: “A mark duly

registered in a country of the Union shall be regarded as independent of marks registered in the

other countries of the Union, including the country of origin.”37 Clearly, then, when the nations of

the world come together to craft intellectual property policy through the World Intellectual

Property Organization (which oversees both the Berne Convention and the Paris Convention), they

know how to make it apparent that there are “multiple” and “separate” interests in each country.

This is simply not the case with the Berne Convention.38

                         ii.    The Copyright Act

         Congress, too, knows how to make clear that separate, independent, and geographically

limited rights exist for intellectual property. Consider the federal statutes that govern patent and

trademark rights. Regarding trademarks, the Lanham Act explicitly states that the registration of a

foreign mark in the United States “shall be independent of the registration in the country of origin

and the duration, validity, or transfer in the United States of such registration shall be governed by

the provisions of this chapter.”39 Regarding patents, the Patent Act expressly recognizes the

geographical limits of a domestic patent, stating that “[e]very patent shall . . . grant to the patentee

. . . the right to exclude others from making, using, offering for sale, or selling the invention

throughout the United States.”40 There is no such distinction in the Copyright Act. See Geophysical

Serv., Inc., 850 F.3d at 791 (“The Copyright Act does not express its limit on territorial reach.”).




36
   Paris Convention, Article 4bis.
37
   Id., Article 6 (emphasis added).
38
   On this point, the plaintiffs are in accord with Professor Patry’s treatise. See Patry on Copyright § 25:18 (“[I]f one
contrasts the nature of copyright with the nature of patents and trademarks, and examines the different approaches to
“territoriality” found in the Berne Convention (governing copyrights) and in the Paris Convention for the Protection
of Industrial Property (governing patents and trademarks), copyright does not appear to be territorially dependent.”).
39
   15 U.S.C. § 1126(f) (emphasis added)
40
   35 U.S.C. § 154 (emphasis added).

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The total lack of textual support,41 together with the Patent Act and Lanham Act’s explicit

declarations, make it clear that imposing the defendant’s “multiple” and “separate” interests theory

on the Copyright Act would be wrong.

                       iii.   Judicial Interpretation

        Lastly, courts interpreting the Copyright Act and the Berne Convention have consistently

adhered to the view that a foreign copyright owner does not maintain a separate and distinct

copyright within the United States. Rather, the owner’s foreign copyright is simply recognized and

enforced in the United States. See, e.g., Unicolors, Inc. v. H&M Hennes & Mauritz, L.P., 52 F.4th

1054, 1078 (9th Cir. 2022) (“[B]ecause the United States joined the Berne Convention, it is

required to afford foreign copyright holders the same protection as holders of domestic

copyrights.”) (internal quotations and alterations omitted) (emphasis added); Vergara Hermosilla

v. The Coca-Cola Co., 717 F. Supp. 2d 1297, 1303 (S.D. Fla. 2010) (“[Plaintiff’s] Mexican

copyright then became enforceable in the United States no later than when his lyrics were

published in [treaty partner] Mexico.”); Bridgeman Art Libr., Ltd. v. Corel Corp., 25 F. Supp. 2d

421, 425 (S.D.N.Y. 1998) (“In view of the United States’ accession to the Berne Convention and

the Universal Copyright Convention, a foreign national [of a treaty member state] may seek

copyright protection under the Copyright Act although the source of its rights lies abroad.”). Again,

compare that with patent and trademark law, where court decisions expressly reinforce the notions

of multiplicity. See, e.g., Abitron Austria GmbH, 600 U.S. at 427 (noting that the territoriality

principle as reflected in trademark treaties and conventions mandates that registration of a foreign


41
   If anything, the Copyright Act’s disparate treatment of “United States works” (defined in 17 U.S.C. § 101) and
foreign works (for example, in connection with the registration requirement found at 17 U.S.C. § 114) confirms that
foreign works do not receive a “United States copyright” as a basis for protection. The House Report on the BCIA
also confirms this understanding. It states that the BCIA “explicitly extended” domestic protection to “Berne
Convention works.” H.R. Rep. No. 609, 100th Cong., 2d Sess. 1-66 (1988). There is never mention of Berne
Convention works receiving a “United States copyright.” See also U.S. Copyright Office, Compendium of U.S.
Copyright Office Practices §2002.2 (3d ed. 2021).

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trademark in the United States “shall be independent of the registration in the country of origin.”);

Deepsouth Packing Co. v. Laitram Corp., 406 U.S. 518, 531 (1972) (“To the degree that the

inventor needs protection in markets other than those of this country, [the inventor must] seek it

abroad through patents secured in countries where his goods are being used.”) (emphasis added);

W. Elec. Co. v. Milgo Elec. Corp., 450 F. Supp. 835, 838 (S.D. Fla. 1978) (“It is settled that patents

granted by different countries represent separate and distinct legal rights which should be

controlled by the country granting the right.”) (citing Boesch v. Graff, 133 U.S. 697 (1890)).

Simply put, the defendant’s “multiple” and “separate” interests theory expressly applies to patents

and trademarks, but it is certainly not reflected in copyright law jurisprudence.

                                                ***

       For purposes of this case, why does it matter whether there is a single copyright or

“multiple” and “separate” copyrights in the same work? Because by insisting that Double Shot has

181 territorially distinct copyrights within the Berne Convention countries, the defendant can argue

that a return of the “United States copyright” does not result in the return of any of the other 180.

On the other hand, if there is only one copyright in Double Shot, which copyright is respected

throughout the Berne Convention in accordance with the principles of national treatment, then the

plaintiffs’ recapture of that one copyright leaves the defendant with nothing. In that instance, the

plaintiffs’ domestic rights yield to them the right to exploit Double Shot everywhere without

interference from its former owner. Cf. PaySys Int’l, Inc. v. Atos Se, 226 F. Supp. 3d 206, 213

(S.D.N.Y. 2016) (“[The plaintiff’s] domestic copyright registrations form the basis for its foreign

copyright claims…”). This, as discussed below, seems like exactly what Congress intended. More

to the point, if there is a single copyright interest, the remainder of the defendant’s arguments in

the Motion to Dismiss quickly unravel.



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     2. Count One: Ownership of the Renewal Copyright Interest

         Turning now to the claims identified in the Complaint. Count One of the Complaint asks

the Court to declare Vetter Communications the sole, worldwide owner of the Renewal Copyright

Interest acquired from Mr. Smith’s heirs.42 The defendant asks the Court to dismiss Count One for

failure to state a claim.43 To decide the issue, the Court must interpret the renewal provisions of

the 1909 Act, as it is the direct source of the Renewal Copyright Interest.

                 A. The Evolution of Renewal Rights

         The provisions of the 1909 Act cannot be examined in a vacuum. Rather, appreciating the

history, purpose, and policy behind renewal rights helps to understand why the plaintiffs should

prevail. The concept of renewal dates back to the world’s very first copyright statute, the Statute

of Anne, enacted in England in 1710.44 The Statute of Anne divided protection for a published

work into two terms of 14 years each.45 Among other similarities, this bifurcated term approach

was mirrored by Congress in the first Copyright Act of 1790. See Fred Fisher, 318 U.S. at 650

(noting similarities between the Statute of Anne and the 1790 Act). Initially, the 14-year renewal

was merely an extension of the original term which could be claimed by the author, if living, or, if

the author was deceased, by the author’s executors, administrators, or assigns. Stewart v. Abend,

495 U.S. 207, 217 (1990). The nature of renewals changed significantly, however, in the 1831

amendment to the Copyright Act. Specifically, “Congress gave the author’s widow and children

that which theretofore they did not possess, namely, the right of renewal to which the author would

have been entitled if he had survived the original term.” Fred Fisher, 318 U.S. at 651. Following

the 1831 amendment, renewals were no longer considered a mere continuation of the original term,


42
   R. Doc. 1, ¶¶ 15-16.
43
   R. Doc. 12-1, at 12-16.
44
   Statute of Anne, 8 Ann. c. 19 (1710) (Gr. Brit.).
45
   Id. at § 11.

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but rather, represented “an entirely new policy, completely dissevering the title, breaking up the

continuance, and vesting an absolutely new title eo nomine in the persons designated.” Stewart,

495 U.S. at 218 (internal quotations and alterations omitted). Almost 80 years later, over the

objections of those in the publishing industries,46 the 1909 Act retained a renewal provision which

acted to grant a new copyright interest to the author (or the author’s heirs) for the renewal term.

                 B. Renewal Rights in the 1909 Act

         It is a common legal axiom that “the starting point for interpreting a statute is the language

of the statute itself. Absent a clearly expressed legislative intention to the contrary, that language

must ordinarily be regarded as conclusive” See Consumer Prod. Safety Comm’n v. GTE Sylvania,

Inc., 447 U.S. 102, 108 (1980). The renewal provision of the 1909 Act states as follows:

                  [T]he author of such work, if still living, or the widow, widower, or
                  children of the author, if the author be not living, or if such author,
                  widow, widower, or children be not living, then the author’s
                  executors, or in the absence of a will, his next of kin shall be entitled
                  to a renewal and extension of the copyright in such work for a further
                  term of twenty-eight years when application for such renewal and
                  extension shall have been made to the copyright office and duly
                  registered therein within one year prior to the expiration of the
                  original term of copyright.

17 U.S.C. § 24 (1909). The right to obtain a renewal copyright is absolute and unrestricted in the

text of the 1909 Act. By all recorded accounts known to the plaintiffs, there is nothing to suggest

that the Congress which passed the 1909 Act viewed renewal rights as limited to the United

States.47 Nor do there appear to be any cases which declared any such geographic limitations. In



46
   Revision of Copyright Laws: Hearings on H.R. 10976 before the Committees on Patents of the Senate and House
of Representatives on Pending Bills, 60th Cong., 120 (1908); see also H.R. Rep. No. 2222, S. Rep. No. 1108, 60th
Cong., 2d Sen. (1909).
47
    No doubt, the defendant could likely come forth with evidence that, under common industry practice, publishers
have long refused to return to authors the full value of the renewal copyright. But industry practice should be irrelevant
in the Court’s analysis, as should the apparent fact that no author prior to now has directly challenged those practices
it in court. “The people are entitled to rely on the law as written, without fearing that courts might disregard its plain
terms based on some extratextual consideration.” Bostock v. Clayton Cnty., Georgia, 140 S. Ct. 1731, 1749 (2020).

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fact, judicial decisions in the half-century following the enactment of the 1909 Act were clear in

their regard for the renewal copyright as an entirely “new estate” that cut off the rights of the

original copyright owner.48 In asking the Court to dismiss Count One, the defendant relies heavily

on two judicial opinions interpreting the scope and effect of the 1909 Act’s renewal provisions:

the Supreme Court opinion in Stewart and the district court opinion in Rohauer v. Killiam Shows,

Inc., 379 F. Supp. 723 (S.D.N.Y. 1974). Each deserves further consideration.

                          i.    Stewart v. Abend

         The defendant goes as far as to say that the Stewart decision is binding precedent that

requires the Court to conclude “that the renewal-term rights to the author’s estate … does not

affect a transferee’s continued ownership of foreign rights.”49 This statement is plainly incorrect.

To briefly summarize the facts of Stewart, in 1945, Cornell Woolrich agreed to assign the motion

picture rights in his previously published story, “It Had To Be Murder,” to a production company.

Stewart, 495 U.S. at 212. This agreement included a promise to obtain a renewal copyright in the

work and to assign the same motion picture rights for the 28-year renewal term. Id. The production

company further assigned its rights to another production company co-owned by Jimmy Stewart.

Id. Stewart’s production company created a film adaptation of the work and released it in 1954.

Id. Woolrich passed away in 1968, before the commencement of the renewal term. Id.

Consequently, he could not transfer the renewal rights as originally promised. In 1969, since

Woolrich had no surviving spouse or child, his executor renewed the copyright of the story and

assigned the renewal rights to Sheldon Abend. Id. Two years later, the ABC television network

48
   Barbara A. Ringer, Copyright Law Revision: Studies Prepared for the Subcomm. on Patents, Trademarks, and
Copyrights of the Comm. on the Judiciary: Study No. 31: Renewal of Copyright, U.S. Sen., 86th Cong., 121 (1958)
(hereinafter, the “Copyright Office Study”), at 124, n.128 (citing cases); see also G. Ricordi & Co. v. Paramount
Pictures, Inc., 189 F.2d 469 (2d Cir. 1951) (holding that the right to continue exploiting a derivative work pursuant to
an agreement granting rights for “all countries in the world” was unequivocally extinguished upon renewal of the
original work).
49
   R. Doc. 12-1, at 14.

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broadcasted the film pursuant to a license from Stewart’s company. Id. Abend notified all relevant

parties that he considered such broadcast to violate his rights in the renewal copyright. Id. at 212-

213. Legal wrangling ensued over the next few years, but ultimately, it appears that Stewart

conceded the point. That is, until the Second Circuit issued its opinion in Rohauer v. Killiam

Shows, Inc., 551 F.2d 484 (2d Cir. 1977). In Rohauer, the Second Circuit reversed the district court

opinion (cited by the defendant and discussed below) to hold that renewal rights did not affect pre-

renewal derivatives which were created in accordance with an assignment of the original

copyright. Id. In reliance on Rohauer, Stewart re-released the film and aggressively exploited it

in all manner of media. Stewart, 495 U.S. at 213-214. Naturally, litigation commenced anew,

eventually reaching the Ninth Circuit in Abend v. MCA, Inc., 863 F.2d 1465 (9th Cir. 1988), which

held the opposite of Rohauer. Id. at 227. The Supreme Court granted certiorari.

       The only question presented in and answered by Stewart was “whether the owner of the

derivative work infringed the rights of the successor owner of the pre-existing work by continued

distribution and publication of the derivative work during the renewal term of the pre-existing

work.” Stewart, 495 U.S. at 211. The Supreme Court’s decision rejected the Rohauer approach in

favor of the owner of the renewal copyright holder. Id. at 216. The decision says nothing about the

geographical scope of the renewal copyright interest, and thus, can in no way be said to “require”

a particular result in the case at bar. That said, the discussion of renewal rights in Stewart is better

read to support the plaintiffs here. For example, the Supreme Court regarded the renewal copyright

as the author’s “second chance to control and benefit from his work.” Id. at 218 (emphasis added).

Stewart further provides that even when an author agrees to assign rights in the renewal term to

another, “[i]f the author dies before [the commencement of the renewal period], the next of kin

obtain the renewal copyright free of any claim founded upon an assignment made by the author in



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his lifetime.” Id. at 219 (emphasis added). Applied here, given that the defendant’s “claim” to

foreign exploitation rights is indisputably “founded upon” the worldwide grant in the 1963

Assignment made by Mr. Smith “during his lifetime,” Stewart suggests that Windsong’s (and thus,

the defendant’s) rights in Mr. Smith’s interest in Double Shot were extinguished in their entirety

when his heirs were vested with the Renewal Copyright Interest.50

         The defendant places significant weight on the Supreme Court’s discussion of the

“contingent” nature of the renewal estate and the “expectancy” received by an assignee of that

estate. Specifically, the defendant states that, with respect to foreign rights, “the effect of the grant

should remain unchanged, because the foreign rights granted are not mere expectancies but valid

full-term rights under the copyright laws of other countries, fully vested in the author for their

entire duration ab initio.”51 The defendant’s argument here sits on a broken foundation. It assumes,

first, that there are “multiple” and “separate” copyrights in a single work throughout the world.

Second, it assumes that a foreign jurisdiction has the authority to determine ownership of a

domestic asset. Third, it assumes that the term of duration of copyright in the United States is

irrelevant to the duration of protection abroad. None of these assumptions are supported.

         To begin, as discussed above, there is only one copyright, afforded in the work’s country

of origin and then recognized by the international community pursuant to treaty obligations. With

that understanding, the “fully vested” argument evaporates. Foreign recognition of the United

States renewal copyright would belong to the owner thereof, meaning that foreign rights are no


50
   In discussing Stewart, the defendant states that a geographically limited renewal right is consistent with “the plain
statutory language” of Section 304(c)(6)(E) in the 1976 Act. As detailed below in discussing Count Two, the plaintiffs
believe the defendant’s interpretation of Section 304 to be incorrect. However, if the defendant is correct about Section
304(c)(6)(E), because the renewal provisions of the 1909 Act have no analogous limitation, Stewart would further cut
against dismissing Count One. Stewart counsels that the limitations in Section 304(c)(6)(A)-(E) would not otherwise
exist absent their including in the statute. Stewart, 495 U.S. at 226–27. Accordingly, if, as the defendant posits, the
renewal copyright so obviously lacks international effect, there would have been no need for Congress to include
Section 304(c)(6)(E) in order to expressly limit the geographic scope of any reversion of that copyright.
51
   R. Doc. 12-1, at 15.

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less an “expectancy” than the potential second term itself. Moreover, the notion that questions of

ownership of a domestic asset should be answered using foreign law is directly contrary to the

principle reflected in Itar-Tass and its progeny, which is further discussed below.52 Finally, the

defendant’s “expectancy” argument ignores the fact that many countries follow the so-called “rule

of the shorter term” reflected in the UCC and the Berne Convention.53 The “rule of the shorter

term” relieves any member country from extending copyright protection to a foreign work for any

longer than that work is protected in its country of origin.54 As such, it is impossible to say that the

assignee of an original copyright could “expect” to receive copyright protection abroad after the

term of the original copyright expired. In sum, the defendant’s “expectancy” argument, although

creative, does not find support in Stewart.

                         ii.    Rohauer v. Killiam Shows, Inc.

         Turning next to the defendant’s citation to Rohauer. The defendant cites the district court

opinion for the sweeping proposition that foreign rights are not part of the renewal estate.55 Given

the consequential effect of this statement, it is worth exploring exactly what the district court said.

The facts in Rohauer are quite similar to those in Stewart. According to the district court, a British

citizen named Edith Maude Hull wrote a novel entitled “The Sons of the Sheik.” Rohauer, 379 F.

Supp. at 725. In 1925, Hull assigned the motion picture adaptation rights in the work throughout

the world and agreed to assign the same rights during the renewal term of protection. Id. The

assignee then produced and released a motion picture based on Hull’s novel. Id. at 726. Hull died

in 1943, and, in 1965, her only child filed the necessary documents to obtain a renewal copyright


52
   See infra at 22-24; see also Restatement (Second) of Conflict of Laws § 222 (1971) (“The interests of the parties in
a thing are determined, depending upon the circumstances, either by the ‘law’ or by the ‘local law’ of the state which,
with respect to the particular issue, has the most significant relationship to the thing and the parties.”)
53
   UCC, supra note 25, art. IV; Berne Convention, supra note 23, art. 7-8.
54
   Id.
55
   R. Doc. 12-1, at 14.

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in the United States for the novel. Id. at 725. Hull’s heir then transferred her interest in the renewal

copyright to Rohauer that same year. Id. at 726. In 1971, the motion picture version of the novel

was broadcast on television without a license from Rohauer. Id. Rohauer brought suit, arguing that

the renewal of the copyright following Hull’s death extinguished any rights which the original

assignee (and any successors in interest) previously acquired. Id. at 727. The district court agreed

with that argument, finding that Hull’s heir (and thus Rohauer as assignee) had a “new and

independent right in the copyright, free and clear of any rights, interests, or licenses attached to

the copyright for the initial term.” Id. The court held that the defendant’s broadcast of the movie

version in 1971 was an infringement on Rohauer’s rights in the underlying work. Id.56

         The defendant raised a plethora of affirmative defenses in the district court to mitigate the

finding of infringement. One of them was that the assignment to Rohauer in 1965 had explicit

recognition of Hull’s prior 1925 assignment, and thus, the defendant argued, the assignment

implicitly excluded the motion picture rights previously assigned. Id. at 734. In response, the

district court made two observations. First, the court observed that the argument “ignore[d] the

principle that assignments of rights made during the original term of the copyright do not bind

those who succeed to the renewal rights.” Id. Second, the court noted that, at the time of the 1925

assignment, the copyright laws in countries adhering to the Berne Convention (including Great

Britain) provided for a unitary term of copyright protection based on the life of the author. Id. at

735. Further, the court observed that the copyright law in Great Britain provided the author’s heirs

a right of reversion 25 years after the author’s death. Id. Accordingly, Hull’s heir would receive a

reversion under the copyright law of Great Britain in 1968. Id. The court concluded that the

reference to the prior 1925 assignment in the 1965 assignment to Rohauer could be read as a mere


56
  As previously noted, the Second Circuit reversed the district court opinion, setting the stage for the Supreme Court
to eventually resolve the issue in Stewart.

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acknowledgment of the fact that, in 1965, Hull’s heir, only possessed rights in the novel in the

United States pursuant to the renewal provisions in the 1909 Act. Id. (“Rohauer was at that moment

vested only with rights to the work in the United States.”) In other countries, the court said, Hull’s

heir would not have any rights to assign to Rohauer until 1968. Id.

         In seeking to dismiss Count One, the defendant cites a snippet of the district court’s opinion

in Rohauer for the proposition that the court “clearly contemplate[d] that foreign rights do not

revert to the author’s estate.”57 But a closer examination reveals that Rohauer has truly little

persuasive value here. As an initial matter, this part of the district court opinion is clearly dicta

which lacks anything close to full analysis on the geographical scope of renewal rights. But more

importantly, the defendant’s argument ignores that Hull was a British citizen and that the United

States was not her novel’s country of origin. With that context, it is not at all surprising that any

renewal right afforded to this British work under United States law would properly be viewed as

having no effect elsewhere.58 To hold otherwise would clearly violate the choice of law rules later

articulated by the Second Circuit in Itar-Tass, which are discussed below. Accordingly, the

defendant’s attempt to analogize the scope of renewal copyright afforded to Hull’s foreign work

to the scope of the Renewal Copyright in Double Shot under United States law is misplaced.59

                 C. Territoriality and Renewal Rights

         In the absence of any textual support in the 1909 Act for the defendant’s geographically

limited renewal rights theory, the defendant argues that the ordinary presumption against



57
   R. Doc. 12-1, at 14.
58
   Arguably, if Hull had been a citizen of the United States, Great Britain would have been required to recognize her
heir’s renewal rights pursuant to the material reciprocity principle. In other words, since the United States gave Hull
(as a British citizen) renewal rights, Great Britain would be required to do the same for an American author.
59
   There appears an even larger hole in the defendant’s citation to Rohauer. The court implies that, following reversion
in the work’s country of origin (i.e., Great Britain), Hull’s heir would recapture rights in the work, not just Great
Britain, but also in the “other countries” with the Berne Convention membership. In that way, this decision not only
fails to support dismissal of Count One, it also bolsters the validity of Count Two.

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extraterritorial application of the Copyright Act (discussed at length above) means that ownership

of the renewal estate cannot extend beyond the United States. To be clear, a claim is not

“extraterritorial” simply because it involves foreign acts, events, rights, or parties. See, e.g.,

Kirtsaeng, 568 U.S. 519 (2013); Quality King Distributors, Inc. v. L’anza Rsch. Int’l, Inc., 523

U.S. 135 (1998). While application of the Copyright Act to infringements occurring entirely

abroad would be impossible to defend, questions of copyright ownership have never been viewed

through the same lens as infringement in this regard. The leading case on this issue is Itar-Tass.

         In Itar-Tass, among the plaintiffs were Russian publishers of foreign newspapers and

magazines. 153 F.3d at 84. The foreign publishers brought an infringement action against a

domestic Russian-language weekly newspaper distributed in New York. Id. The defendant did not

dispute copying some works without permission. Id. Instead, the defendant challenged the right of

the publishers to bring the infringement claim altogether, arguing that, under Russian law, the

publishers were not the owners of the copyright in the works copied. Id. The court acknowledged

that on infringement issues, “the governing conflicts principle is usually lex loci delicti, the

doctrine generally applicable to torts.”60 But as to ownership, the court noted, “[c]opyright is a

form of property, and the usual rule is that the interests of the parties in property are determined

by the law of the state with the most significant relationship to the property and the parties.” Id. at

90 (citing Restatement (Second) of Conflict of Laws § 222)). The court reasoned that, in this case,

the “country of origin” as designated in the Berne Convention was the country with the most

significant relationship to the works at issue. Itar-Tass, 153 F.3d at 90. Accordingly, even though


60
   Citing Hasbro Bradley, Inc. v. Sparkle Toys, Inc., 780 F.2d 189 (2d Cir. 1985), the court then states, “[w]e have
implicitly adopted that approach to infringement claims, applying United States copyright law to a work that was
unprotected in its country of origin.” Id. at 91. The defendant cites Hasbro for the proposition that ownership of a
copyright is multiplicitous. R. Doc. 12-1, at 8, n.7. Clearly, the Second Circuit views Hasbro as a choice of law case
in the context of infringement, and not as a comment on whether there are “multiple” and “separate” copyrights
throughout the world as the defendant argues.

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the Copyright Act was appropriate to determine the scope of protection afforded to these foreign

works in the United States, Russian law would be applied to determine the ownership thereof. Id.

at 91. The court went on to hold that, under Russian law, the publishers were not owners of the

news articles alleged to have been infringed. As such, they were not proper plaintiffs in the

infringement action. Id. at 92.61 Itar-Tass has been embraced in the Fifth Circuit62 and elsewhere.63

         In the instant matter, the defendant consistently conflates the law applicable to the scope

of protection afforded pursuant to the principle of national treatment, and the determination of who

is entitled to receive and enforce that protection. In this way, the defendant has adopted what Itar-

Tass referred to as Professor Nimmer’s “overstatement” of the national treatment principle. In fact,

“[w]hether U.S. copyright law directs U.S. courts to look to foreign or domestic law as to certain

issues is irrelevant to national treatment, so long as the scope of protection would be extended

equally to foreign and domestic authors.” Id. at 90, n.8. A relatively recent district court case from

the District of Nevada, Corbello v. DeVito reinforces that, under Itar-Tass, even when an

infringement question involves foreign exploitations, if the work is of United States origin, the

antecedent question of ownership must be answered under domestic law, without regard to national

treatment obligations. Corbello v. DeVito, 844 F. Supp.2d 1136, 1157 (D. Nev. 2012), rev’d on

other grounds 777 F.3d 1058 (9th Cir. 2015).

         Lastly, taken to its logical conclusion, the defendant’s insistence that the Court look abroad

to determine the ownership of the Renewal Copyright Interest, could yield absurd results. A



61
   The court limited its opinion to initial ownership of a copyright, saving questions of ownership through assignment
for another case. Itar-Tass, 153 at 91.
62
   See Alameda Films SA de CV v. Authors Rts. Restoration Corp. Inc., 331 F.3d 472 (5th Cir. 2003).
63
   See, e.g., Saregama India Ltd., v. Mosley, 635 F.3d 1284 (11th Cir. 2011); RCTV Int’l Corp. v. Rosenfeld, No. 13-
23611-CIV, 2016 WL 6818955, at *6 (S.D. Fla. Sept. 30, 2016); Corbello v. DeVito, 844 F. Supp. 2d 1136, 1156–57
(D. Nev. 2012); New Look Party Ltd. v. Louise Paris Ltd., No. 11 CIV. 6433 NRB, 2012 WL 251976, at *9 (S.D.N.Y.
Jan. 11, 2012); Rudnicki v. WPNA 1490 AM, No. 04 C 5719, 2009 WL 4800030 (N.D. Ill. Dec. 10, 2009); Lahiri v.
Universal Music & Video Distribution, Inc., 513 F. Supp. 2d 1172, 1176 (C.D. Cal. 2007).

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hypothetical may help illustrate the point. First, assume that the 1963 Assignment did not assign

Windsong any rights in the renewal term. Mr. Vetter and Mr. Smith’s heirs obtained the Renewal

Copyright in 1994 as a new estate. Suppose in 1995, a bootlegger from Detroit is caught by

Canadian law enforcement in nearby Windsor selling pirated copies of Double Shot on compact

discs. Canada is a member of both the UCC and the Berne Convention 64 and must afford Double

Shot national treatment. The owners of the Renewal Copyright file a lawsuit against the Detroit

bootlegger in the District Court for the Eastern District of Michigan. Because the Copyright Act

has no “extraterritorial” application to foreign infringements, the court must apply Canadian law.

Section 27(1) of Part 3 of the Canadian Copyright Act provides that “[i]t is an infringement of

copyright for any person to do, without the consent of the owner of the copyright, anything that by

this Act only the owner of the copyright has the right to do.”65 Under the defendant’s theory, the

district court would have to look to the laws of Canada to determine who the “owner of the

copyright” is, and since Canada uses a unitary term of protection, the Renewal Copyright would

be disregarded in its entirety and Windsong must be declared the “owner of the copyright” in

Canada. Hence, Windsong is the only one who can pursue a claim against the bootlegger. This

result appears entirely inconsistent with and foreclosed by Itar-Tass and its progeny.66 Yet, if one

simply follows the defendant’s argument to its natural conclusion, it is the only result available.

                                                          ***

         In summary, the renewal provisions of the 1909 Act provided Mr. Smith’s heirs with a

completely new property interest. Upon vesting of the Renewal Copyright, all of Windsong’s


64
   Copyright Office Circular, supra note 18.
65
   Canadian Copyright Act, Part 3 § 27(1) (emphasis added), available at https://laws-lois.justice.gc.ca/eng/acts/C-
42/index.html.
66
   It would be similarly absurd to suggest that the owner of a United States work that was “made for hire” would have
such ownership rejected in countries which restrict the ability of creators to divest themselves of the authorship rights
in their works.

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rights in the Original Copyright derived from Mr. Smith’s prior assignment were cut off. There is

no support in the 1909 Act, textual or otherwise, for the notion that the Renewal Copyright Interest

is geographically limited, and the judicial decisions cited by the defendant do not counsel

otherwise. Lastly, the defendant cannot invoke territoriality principles to defeat the plaintiffs’

claim, as questions of ownership regarding the Renewal Copyright Interest must be decided under

United States law. For all of the foregoing reasons, Count One states a cognizable claim and,

accordingly, the Court should deny the Motion to Dismiss as to Count One.

     3. Count Two: Ownership of the Terminated Copyright Interest

         Count Two of the Complaint asks the Court to declare Mr. Vetter the sole, worldwide

owner of the Terminated Copyright Interest which he acquired pursuant to Section 304(c) of the

1976 Act.67 The defendant asks the Court to dismiss Count Two for failure to state a claim. 68 To

decide the issue, the Court must interpret the reversion (or “termination”) provisions of the 1976

Act, as it is the direct source of the Terminated Copyright Interest. However, like the renewal

provisions in the 1909 Act, termination rights in the 1976 Act cannot be examined in a vacuum.

Here again, appreciating the history, purpose, and policy behind those rights is critical to

understanding why the plaintiffs should prevail.

                  A. The Evolution of Termination Rights

         Congress began the process of overhauling the 1909 Act in the late 1950s.69 One of the

principal issues Congress sought to address was the duration of copyright protection.70 Although

previous efforts had failed,71 many still favored adopting a unitary term to bring the United States



67
   R. Doc. 1, at 16-17.
68
   R. Doc. 12-1, at 5-12.
69
   Jessica Litman, Copyright, Compromise, and Legislative History, 72 Cornell L. Rev. 857, 872 (1987).
70
   Id. at 865, 888.
71
   See Copyright Office Study, supra note 48, at 191-202 (discussing various bills to revise the 1909 Act).

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in general accord with international laws on duration.72 One of the most troublesome issues

surrounding the adoption of a unitary term stemmed from the fact that the elimination of the

renewal term threatened to undermine the protections for authors against unremunerative

transfers.73 The idea of a reversion right took hold with authors and their representatives at the

negotiating table. If there was to be a unitary term, the author should be able to recapture rights

alienated through assignment. The opposition from the publishing and motion picture industries to

such a reversion right was fierce.74 However, after years of negotiation between authors and the

affected industries, they were able to agree on a reversion structure that would protect authors

while “recognizing the problems and legitimate needs of all interests involved.”75

         The 1976 Act would maintain the dual-term renewal structure for works created prior to

January 1, 1978. To lengthen the duration of protection for such works, Congress created a new

property interest dubbed an “extended renewal copyright,” which would provide 19 years of

additional protection.76 For all works created on and after January 1, 1978, such works would be

protected for a term based on the life of the author plus 50 years. 77 As for reversion of rights,

Congress added Section 203 for works governed by the unitary term, and Section 304(c) for works

governed by the renewal structure. The provisions are analogous in most respects, but function

somewhat differently. Section 203 permits authors to terminate the transfer or license of their

copyright within a window commencing 35 years after the date of the grant and closing five years

thereafter. Section 304 allows for the termination of transfers during the extended renewal term of



72
   Id. at 202-220.
73
   Litman, supra note 69, at 866, n.56.
74
   Id. at 891.
75
   1976 House Report, supra note 1, at 124.
76
   Id. at 141.
77
   Id. at 133. This duration was extended to the life of the author plus 70 years in 1998. See Eldred v. Ashcroft, 537
U.S. 186, 193 (2003).

                                                         26
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the renewal copyright within a window commencing 56 years after the date the original copyright

was secured and closing five years thereafter. The legislative history provides additional insight as

to the intentions of Congress. “[Rights of termination] are based on the premise that the

reversionary provisions of the present section on copyright renewal [in the 1909 Act] should be

eliminated, and that the proposed law should substitute for them a provision safeguarding authors

against unremunerative transfers.”78 Notably, Congress considered the “arguments for granting

rights of termination [as] even more persuasive under section 304 than they are under section 203;

[principally because] the extended term represents a completely new property right, and there are

strong reasons for giving the author, who is the fundamental beneficiary of copyright under the

Constitution, an opportunity to share in it.” To avoid a repeat of Fred Fisher, Congress made the

termination right exercisable “notwithstanding any agreement to the contrary.”79

         In a nod to publishers and motion picture companies, in addition to requiring the author or

the author’s heirs to undertake affirmative steps to effect termination (instead of being automatic

as some early proposals had provided), Congress created certain limitations on the termination

right. There were two major limitations included which paved the way for passage of the 1976

Act. The first involved works made for hire. To begin, Congress exempted works made for hire

from termination. This exemption was hotly contested by authors’ groups. Even more

controversial was the expansion of the scope of works that could be considered works made for

hire. Beginning in the 1976 Act, in addition to works made for an employer by an employee, works

could be considered “made for hire” even absent an employment relationship provided that there

was a written agreement to that effect.80 However, those provisions were only applicable to certain



78
   1976 House Report, supra note 1, at 124.
79
   17 U.S.C. §§ 203(a)(5), 304(c)(5).
80
   17 U.S.C. § 101 (definition of “work made for hire”).

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types of works, contributions to a motion picture being one of them. The second major concession

to the industries involved derivative works. As established in Stewart, under the 1909 Act, once a

copyright was renewed, any rights to exploit a derivative work created under the original copyright

were cut off. Not so for terminations. Under the express limitations in the 1976 Act, derivative

works could continue to be exploited in accordance with the terms of the initial grant. It is not

hyperbole to state that these two concessions represented a “historic compromise” which finally

allowed the proposed bill to move forward. See Community for Creative Non-Violence v. Reid,

490 U.S. 730, 746 (1989). In addition to these limitations, the defendant interprets the statute to

also exclude a return of any right to exploit the work outside of the United States. For the reasons

discussed below, the plaintiffs believe this interpretation is outdated and wrong.

                 B. Termination Rights in the 1976 Act

        As before, interpretation of the reversion provisions in the 1976 Act must begin with the

text itself. Section 304(c) provides, in relevant part, that:

                 In the case of any copyright subsisting in either its first or renewal
                 term on January 1, 1978, other than a copyright in a work made for
                 hire, the exclusive or nonexclusive grant of a transfer or license of
                 the renewal copyright or any right under it, executed before January
                 1, 1978 . . . is subject to termination . . ..81

The parties do not appear to be in disagreement regarding the general effect of the foregoing, nor

whether Mr. Vetter timely served and recorded the Termination Notice. Where the parties depart

in their view of the text is regarding one of the six enumerated limitations on termination rights

identified in the 1976 Act. Specifically, Section 304(c)(6)(E) provides that “[t]ermination of a

grant under this subsection affects only those rights covered by the grant that arise under this title,




81
   17 U.S.C. § 304(c). Given the lack of substantive differences for purposes of this case, the plaintiffs will not
distinguish between Sections 203 and 304(c) unless meaningful to do so.

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and in no way affects rights arising under any other Federal, State, or foreign laws.” 82 According

to the defendant, the foregoing limitation “can only result in the recapture of U.S. rights, not

foreign rights.”83 The plaintiffs respectfully disagree.

           As an initial matter, despite the defendant’s professions of clarity, the text of Section

304(c)(6)(E) is not free from ambiguity. At the very least, the phrase “under this title” has been

deemed ambiguous (and without geographic significance) in connection with the 1976 Act:

                    One difficulty is that neither “under” nor any other word in the
                    phrase means “where.” It might mean “subject to,” but as this Court
                    has repeatedly acknowledged, the word evades a uniform, consistent
                    meaning. “[U]nder” is a chameleon with many dictionary
                    definitions and must draw its meaning from its context.

Kirtsaeng, 568 U.S. at 531(internal quotations and citations omitted). Consequently, both the rights

covered by the grant that “arise under this title,” which are subject to termination, and the rights

that “aris[e] under any other Federal, State, or foreign laws” which are not subject to termination,

present issues of facial ambiguity. In light of this ambiguity, the meaning must be drawn from

context, and it is proper to employ interpretive canons of statutory construction. See Vielma v.

Eureka Co., 218 F.3d 458, 464 (5th Cir. 2000). To that end, the text of the subject limitation must

be given its ordinary, contemporary, common meaning. Star Athletica, L.L.C. v. Varsity Brands,

Inc., 580 U.S. 405, 408 (2017). However, the Court need not isolate its consideration of the subject

limitation to the text of Section 304(c)(6)(E). “[I]nterpretation of a phrase of uncertain reach is not

confined to a single sentence when the text of the whole statute gives instruction as to its meaning.”

Maracich v. Spears, 570 U.S. 48, 65 (2013). Instead, the Court should “look to the provisions of

the whole law” to determine the meaning of Section 304(c)(6)(E). Star Athletica, 580 U.S. at 408.




82
     17 U.S.C. § 304(c)(6)(E). Identical language is found in Section 203(b)(3).
83
     R. Doc. 12-1, at 6.

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        The legislative history of a statute may be instructive and used to clear up ambiguity.

Bostock, 140 S. Ct. at 1749. However, “it is ultimately the provisions of [the] legislative commands

rather than the principal concerns of our legislators by which we are governed.” Id. Moreover,

“even in its secondary role legislative history must be used cautiously.” Burlington N. & Santa Fe

Ry. Co. v. Bhd. of Maint. of Way Emps., 286 F.3d 803, 805-06 (5th Cir. 2002). Relevant here, it

has been observed that much of the legislative history in connection with the 1976 Act is not

particularly reliable. Stewart, 495 U.S.at 226 84 This is due in no small part to the long, winding

road it took to enactment. Id. Still, what can reasonably be gleaned from the 1976 House Report

supports the plaintiffs.

        First, Congress recognized that “[c]opyrighted works move across national borders faster

and more easily than virtually any other economic commodity, and with the techniques now in

common use this movement has in many cases become instantaneous and effortless.”85 One of the

principal goals of the 1976 Act was to “provide certainty and simplicity in international business

dealings.”86 In this vein, the Supreme Court has described the 1976 House Report as reflecting a

clear desire to “enhanc[e] predictability and certainty of copyright ownership.” Cmty. for Creative

Non-Violence v. Reid, 490 U.S. 730, 749 (1989).87 Regarding the termination provisions in the

1976 Act, these new rights were intended to “substitute” for renewal rights under the 1909 Act as

a means of “safeguarding authors against unremunerative transfers.”88 Congress viewed “the

arguments for granting rights of termination [as] even more persuasive under section 304 than they

are under section 203.”89 “[A]lthough affirmative action is needed to effect a termination, the right


84
   Citing Litman, supra note 69.
85
   1976 House Report, supra note 2, at 135.
86
   Id.
87
   Citing 1976 House Report, supra note 2, at 129.
88
   1976 House Report, supra note 2, at 124.
89
   Id. at 140.

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to take this action cannot be waived in advance or contracted away.”90 Congress intended the scope

of the right to extend to both nonexclusive licenses and any “transfer of copyright ownership” as

defined in the 1976 Act.91 In turn, a “transfer of copyright ownership” is defined as an “assignment,

mortgage, exclusive license, or any other conveyance, alienation, or hypothecation of a copyright

or of any of the exclusive rights comprised in a copyright, whether or not it is limited in time or

place of effect…”92 Congress believed the effect of termination to mean that “ownership of the

rights covered by the terminated grant reverts to everyone who owns termination interests on the

date the notice of termination was served.”93

        As to the exclusions and limitations on termination rights, Congress expressly recognized

that “[t]he right of termination would not apply to ‘works made for hire,’ which is one of the

principal reasons the definition of that term assumed importance in the development of the bill.”94

Additionally, “[a]n important limitation on the rights of a copyright owner under a terminated

grant” can be found in Sections 203(b)(1) and 304(c)(6)(A), both of which provide that,

“notwithstanding a termination, a derivative work prepared earlier may continue to be utilized

under the conditions of the terminated grant.”95 Congress was explicit, however, in clarifying that

such “privilege is not broad enough to permit the preparation of other derivative works.”96

Principally relevant here, Congress also limited termination to “rights covered by an existing

grant,” leaving “other Federal, State, or foreign laws” unaffected.”97




90
   Id at 124-125.
91
   Id. at 125.
92
   17 U.S.C. § 101 (emphasis added).
93
   Id. at 127 (emphasis added).
94
   Id. at 125.
95
   Id. at 127.
96
   Id.
97
   Id.

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       Unfortunately, the 1976 House Report did not expand upon what “other laws” Congress

had in mind when it pronounced them unaffected by termination. Prior to Siegel v. Warner Bros.

Ent. Inc., 542 F. Supp. 2d 1098 (C.D. Cal. 2008), courts interpreting this phrase appear to have

focused on contractual rights. For example, in Walthal v. Rusk, the Seventh Circuit observed that

“state contract laws pertain to the transfer of interests under the Copyright Act. Section 203(b)(5)

itself specifically provides that termination of a grant under the statute ‘in no way affects rights

arising under any other Federal, State, or foreign laws.’” 172 F.3d 481, 485 (7th Cir. 1999); see

also Capture Eleven LLC v. Otter Prod., LLC, 2022 WL 5192763, at *2 (D. Colo. Oct. 5, 2022).

The plaintiffs’ view of Siegel is fully detailed below, but they acknowledge that, as a matter of

first impression, the district court interpreted the limitation identified in Section 304(c)(6)(E) as a

geographical one. Suffice it to say, the result in Siegel is called into serious doubt by Kirtsaeng,

also discussed below.

                      i.   Siegel v. Warner Bros. Entertainment, Inc.

       The district court in Siegel held that the reversion provisions of the 1976 Act exclude the

return of any rights arising under foreign law.

               Although the Court can locate no case that has specifically
               addressed the issue of accounting profits from the foreign
               exploitation of a copyright that is subject to a valid termination
               notice, the statutory text could not be any clearer on this subject.
               Through this section, Congress expressly limited the reach of what
               was gained by the terminating party through exercise of the
               termination right; specifically, the terminating party only recaptured
               the domestic rights (that is, the rights arising under title 17 to the
               United States Code) of the grant to the copyright in question. Left
               expressly intact and undisturbed were any of the rights the original
               grantee or its successors in interest had gained over the years from
               the copyright through other sources of law, notably the right to
               exploit the work abroad that would be governed by the copyright
               laws of foreign nations. Thus, the statute explains that termination
               “in no way affects rights” the grantee or its successors gained “under
               foreign laws.”

                                                  32
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Siegel, 542 F. Supp. 2d at 1140. Notably, this statement is without any citation to judicial authority,

apparently because the court considered the question as a matter of first impression. Id. In the

absence of precedent on point, the district court chose to rely heavily on the opinions of two highly

respected copyright scholars, Professors Nimmer and Patry. While the credentials of Professors

Nimmer and Patry are unassailable, their opinions are not. See, e.g., Milne ex rel. Coyne v. Stephen

Slesinger, Inc., 430 F.3d 1036, 1047 (9th Cir. 2005); Itar-Tass, 153 F.3d at 89 (Nimmer “somewhat

overstates the national treatment principle”); McClatchey v. Associated Press, 2007 WL 1720080,

at *1 (W.D. Pa. June 8, 2007); Bouchat v. Champion Prod., Inc., 327 F. Supp. 2d 537, 553 (D.

Md. 2003); Bridgeman Art Library v. Corel Corp., 36 F. Supp. 2d 191, 193 (S.D.N.Y. 1999)

(“Professor Patry’s contention that the United States may not apply foreign law less restrictive

than its own with respect to originality may be too narrow.”). In fact, Professor Nimmer’s views

on territoriality have been rejected in this District as recently as 2016 by Judge deGravelles in

Mapp v. UMG Recordings, Inc., 208 F. Supp. 3d 776, 793–94 (M.D. La. 2016) (deGravelles, J.).98

And, of course, one can respect the expertise of Professors Nimmer and Patry without outsourcing

the job of statutory interpretation to them. Nor should interpretation of the law be outsourced to

the views of the industries purposely disfavored by the termination provisions. Cf. Kirtsaeng, 568

U.S. at 550 (declining to ascertain the best reading of the 1976 Act by dissecting the remarks of

industry representatives at congressional meetings held 10 years before the statute was enacted).

           Apart from the citations to Professor Nimmer and Professor Patry’s respective treatises,

there is little analysis from the district court on this point. The court does reference “the

longstanding rule that the copyright laws of this country have no application beyond the U.S.

border.” Siegel, 542 F. Supp. 2d at 1141 (citing Los Angeles News Serv. v. Reuters Tv. Intern., 340


98
     Order vacated in part on other grounds, No. CV 15-602-JWD-RLB, 2017 WL 3675419 (M.D. La. May 3, 2017).

                                                      33
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F.3d 926, 931 (9th Cir. 2003)) (internal quotations omitted). But here again, there is no real

explanation as to why the court considered this rule to be controlling in light of Itar-Tass and its

progeny. The decision continues:

                     If Congress contemplated the ability to attach or otherwise force the
                     accounting of foreign profits to which the original grantee or its
                     successors are legally entitled under the copyright laws of other
                     nations through the backdoor of applying state law tenant in
                     common principles, one would have expected such an intention to
                     have been made expressly, and certainly with some explanation
                     given the incongruity that arises from the statutory language’s
                     notation that termination did not affect another’s rights under
                     “foreign laws.”

Id. This passage can be criticized on multiple grounds. First, given that “[o]rdinarily, Congress’

silence is just that—silence,” the conclusion drawn by the court is debatable. See Reid, 490 U.S.

at 749. Second, given that Section 304(c)(6)(E) is a limitation on an otherwise broadly applicable

termination right, it should have been construed more narrowly. Third, the court omits the word

“other” from the “foreign rights” in discussing what is unaffected by termination, which omission

changes the entire meaning of the limitation. These criticisms are equally applicable to the

defendant’s arguments to dismiss Count Two and are addressed fully below.99

           Lastly, it is not surprising that a court within the Ninth Circuit viewed this matter through

an “extraterritorial” lens. Indeed, prior to the Supreme Court’s decision in Kirtsaeng, the Second

and Ninth Circuits interpreted the ordinary meaning of the phrase “under this title” to naturally

restrict geographic scope when used in the 1976 Act. See Kirtsaeng, 568 U.S. at 528. This may

also explain why the Second Circuit has also stated (in dicta) that exercising termination rights

only results in a return of the “domestic copyright interests.” Fred Ahlert Music Corp. v.




99
     See infra at 37-42.

                                                      34
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Warner/Chappell Music, Inc., 155 F.3d 17, 18 (2d Cir. 1998).100 Given that these decisions predate

Kirtsaeng and are from the Circuits that “lost” in that case, they would seem to have little

persuasive value to support the defendant’s argument here.

                        ii.    Kirtsaeng v. John Wiley & Sons, Inc.

        The facts in Kirtsaeng are not particularly important and can be quickly summarized.

Supap Kirtsaeng, a student from Thailand studying in the United States, imported and sold over

600 copies of English-language textbooks published by John Wiley & Sons’ Asian subsidiary

without authorization. John Wiley sued Kirtsaeng for copyright infringement. The central issue

was whether the first sale doctrine,101 which allows the resale of lawfully made copies without the

copyright owner’s permission, applies to goods manufactured abroad and imported into the United

States. The district court and the Second Circuit sided with John Wiley, holding that the first sale

doctrine does not apply to foreign-made goods. The Supreme Court granted certiorari and reversed,

ruling that the first sale doctrine does apply to foreign-made goods lawfully purchased abroad and

imported into the United States.

        To reach this result, the Supreme Court was required to interpret what the 1976 Act means

by “lawfully made under this title” in connection with the first sale provisions of the statute.

Specifically, the Court needed to “decide whether the words ‘lawfully made under this title’ restrict

the scope of [the] ‘first sale’ doctrine geographically.” Kirtsaeng, 568 U.S. at 528. Against much

protest from the dissenters regarding the “extraterritorial” reach of domestic copyright law, the

majority held that, in fact, “under this title” did not have any geographical significance in this

context. Id. at 530. Instead, “under this title” simply meant “in accordance with” or “in compliance


100
    The defendant also cites Clancy v. Jack Ryan Enterprises, Ltd., 2021 WL 488683 (D. Md. Feb. 10, 2021) in support.
However, the district court in Clancy relied exclusively on Siegel without any broader considerations. Clancy, 2021
WL 488683 at *46.
101
    17 U.S.C. § 109.

                                                        35
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with” the Copyright Act. Id. This non-geographic reading of the provision, said the Supreme Court,

was “simple,” “promoted a traditional copyright objective,” and made “word-by-word linguistic

sense.” The decision dismissed the notion that a non-geographical reading was an “extraterritorial”

application of the Copyright Act, noting that “the principle that copyright laws do not have any

extraterritorial operation requires some qualification.” Kirtsaeng, 568 U.S. at 532 (internal

quotations and citation omitted).

                                                         ***

         Returning to the broader discussion of Section 304(c)(E)(6), given that identical words

used in different parts of the same statute are generally regarded to have the same meaning, Atl.

Cleaners & Dyers, Inc. v. United States, 286 U.S. 427, 433 (1932), following Kirtsaeng, one must

assume that “rights that arise under this title” as used in Section 304(c)(6)(E) lacks any

geographical implications.102 Properly construed, the limitation should be read to distinguish

between, on the one hand, copyright ownership, and, on the other hand, all other rights that may

come by way of “Federal, State, or foreign law.” Kirtsaeng supports the plaintiffs’ reading because

it is simple, supports a traditional copyright objective, makes word-by-word linguistic sense, and

narrowly construes a limitation on a broader right. Each of the foregoing is discussed below.

         First, the plaintiffs’ reading is simple. All rights under copyright law that the grantee

received must be returned to the author through reversion. Full stop. There is no need to look to

the laws of other countries to determine the scope of the reversion and whether they would honor

the same. Moreover, it completely removes the grantee from decisions regarding the author’s




102
   The fact that Section 304(c)(6)(E) has been long viewed by some as restricted in geographic effect is of no great
moment. Kirtsaeng itself noted that federal courts had been interpreting Section 109 to have geographic restriction for
nearly 30 years prior. Kirtsaeng, 568 U.S. at 543.

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recaptured right to exploit the work. As such, there is no need for the author to, like in Fred Ahlert,

seek the input or consent of the grantee for a license with international scope.103

         Second, it promotes traditional copyright objectives. As previously established, like

renewal rights in the 1909 Act, termination rights were and continue to be in furtherance of giving

the author a second chance. Such is even more the case with Section 304(c) since termination of

the extended renewal term does not invade or even touch the grantee’s benefit of the initial bargain.

If the goal of Section 304(c) is to ameliorate the effect of unremunerative transfers, and the right

returns to the author the ability to exploit the reverted work in only one of the 181 countries in the

Berne Convention, Section 304(c) simply does not achieve that goal. Accepting the defendant’s

interpretation would allow a scorned, absent, or merely dilatory grantee to prevent or lose any

exploitation opportunity that is not strictly confined to the United States. That possibility is

inconsistent with the fundamental goal of termination rights. Moreover, another goal of Congress

in the 1976 Act was to enhance the predictability and certainty of copyright ownership. Reid, 490

U.S. at 749. The plaintiffs’ reading of Section 304(c)(6)(E) does just that.

         Third, the plaintiffs’ reading of the statute makes word-by-word linguistic sense. If a

“transfer of copyright ownership” is defined in the 1976 Act as being without regard to “place of

effect,”104 a termination of that transfer should be equally regarded.105 Even more telling, the

plaintiffs’ non-geographic reading gives meaning to every word in the sentence.106 By contrast,

the defendant’s reading does not. If, as the defendant argues, “rights that arise under this title”



103
    Fred Ahlert Music Corp., 155 F.3d at 18.
104
    17 U.S.C. § 101.
105
    The 1976 Act explicitly distinguishes between the “copyright” as an asset and the exclusive rights “comprised in”
that asset. 17 U.S.C. § 101 (defining “transfer of copyright ownership”). The defendant’s assertion that a termination
of a “transfer” can only return the enumerated rights afforded to copyright owners in the 1976 Act is inconsistent with
this distinction.
106
    Without question, courts should disfavor interpretations of statutes that render any part of the language superfluous.
Connecticut Nat. Bank v. Germain, 503 U.S. 249, 253 (1992).

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means only the “specific rights enumerated in the U.S. copyright statute,” what need would there

be to include the qualification that all “other Federal, State, and foreign laws” remain unaffected?

In other words, under the defendant’s reading, the phrase “rights that arise under this title” already

tells one all that needs to be known about the rights that revert. Any right that is not enumerated

in the 1976 Act would be inherently excluded from the scope. There is no need to qualify further.

But, of course, Congress did provide further qualification in stating that termination does not affect

“other Federal, State, or foreign rights.” The defendant’s interpretation simply cannot be squared

with that circle. Moreover, as previously mentioned, the Siegel interpretation urged by the

defendant ignores the word “other” appearing before “Federal, State, and foreign laws,” thereby

giving “foreign” unqualified breadth. But that ignores the “ordinary understanding of how

adjectives work.” See Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv., 139 S. Ct. 361, 368 (2018).

“Adjectives modify nouns—they pick out a subset of a category that possesses a certain quality.”

Id. When a modifier such as “other” precedes a list of nouns separated by commas, it is presumed

that the modifier applies to them all. See Facebook, Inc. v. Duguid, 592 U.S. 395, 403 (2021)

(observing the “series-qualifier canon”). “The typical way to break the series is to insert a

determiner.” United States ex rel. Vaughn v. United Biologics, L.L.C., 907 F.3d 187, 195 (5th Cir.

2018). Without a determiner, “other” naturally applies to “State” and “foreign” laws as well. When

“other” applies to the entire series, the plaintiffs’ reading of the limitation as a distinction between

categories of “rights” rather than territories makes far more linguistic sense. In other words, the

limitation makes clear that termination rights are not intended to extinguish all of the grantee’s

rights under an assignment agreement, rather only those related to a perpetual copyright

assignment.107 As applied here, Section 304(c)(6)(E) ensures that any of Mr. Vetter’s obligations,


107
   This is reinforced by the provisions making the termination right inalienable “notwithstanding any agreement to
the contrary.” See 17 U.S.C. §§ 203(a)(5), 304(c)(5)

                                                       38
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representations, warranties, or covenants made in the 1963 Assignment that do not pertain to

copyright ownership remain intact. Conversely, Mr. Vetter’s agreement to assign the Double Shot

copyright interest in perpetuity is unenforceable and is subject to termination.

        Finally, the plaintiffs emphasize something that Siegel skipped over without consideration.

As a limitation on an otherwise broadly applicable termination right, Section 304(c)(6)(E) should

be construed narrowly and not interpreted in such a way as to frustrate the purpose of such right.

Cf. Fame Pub. Co. v. Alabama Custom Tape, Inc., 507 F.2d 667, 670 (5th Cir. 1975) (“We begin

by noting that the compulsory license provision is a limited exception to the copyright holder’s

exclusive right [and a]s such, it must be construed narrowly, lest the exception destroy, rather than

prove, the rule.”). In that regard, it is clear that the principal purpose of Section 304 “was to provide

added benefits to authors.” Mills Music, Inc. v. Snyder, 469 U.S. 153, 172 (1985); see also Classic

Media, Inc. v. Mewborn, 532 F.3d 978, 983 (9th Cir. 2008) (termination rights are meant to award

the author, not the assignee). “More particularly, the termination right [in Section 304(c)] was

expressly intended to relieve authors of the consequences of ill-advised and unremunerative grants

that had been made before the author had a fair opportunity to appreciate the true value of his work

product.” Mills Music, 469 U.S. at 172–73. Thus, the Court should interpret the limitation in

Section 304(c)(6)(E) in a narrow manner so as not to frustrate the author’s full enjoyment of the

reverted rights. As is evident from this lawsuit, a sweeping geographic interpretation of Section

304(c)(6)(E) has frustrated and will continue to frustrate Mr. Vetter’s full enjoyment of his

recaptured rights in Double Shot.

        There is one last interpretive canon to mention. That is, any interpretation of a statute that

would lead to absurd results should be discarded. See Griffin v. Oceanic Contractors, 458 U.S.

564, 575 (1982). The defendant’s interpretation would do just that. Consider the following



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hypothetical. There is no dispute that the statute expressly prohibits the creation of additional

derivative works108 based on a work once the original grant has been terminated.109 Now, suppose

the defendant is correct, and he retains the right to exploit the work in all countries but the United

States. This being the case, the defendant could make or authorize the creation of as many new

derivative versions of Double Shot as he saw fit in any or all of the other 180 countries in the Berne

Convention without any involvement or consent from Mr. Vetter. Moreover, given that Kirtsaeng

expressly recognizes that foreign copies of the work may find their way into the United States

without violating the Copyright Act, Mr. Vetter would be powerless to prohibit copies of such

derivative works from being sold in the United States through secondary markets. Can this really

be what Congress meant when it insisted that all rights to prepare new derivatives would be “cut

off”?110 There is nothing to suggest that Congress intended to countenance the natural result of the

defendant’s interpretation. By declaring Section 304(c)(6)(E) to be without geographic restriction,

the Court can eliminate the possibility of such an absurd result occurring.

                 C. Territoriality and Termination Rights:

        The defendant states that Section 304(c)(6)(E) “recognizes the principles of territoriality

and national treatment, which the U.S. and its treaty partners worldwide have recognized since the

dawn of international copyright relations.”111 The defendant’s view on territoriality rings familiar

to the dissent in Kirtsaeng: “[I]ntellectual property law is territorial in nature, which means that

creators of intellectual property may hold a set of parallel intellectual property rights under the

laws of different nations.” Kirtsaeng, 568 U.S. at 573 (Ginsburg, J., dissenting) (internal quotations


108
    A derivative work is defined as “a work based upon one or more preexisting works, such as a translation, musical
arrangement, dramatization, fictionalization, motion picture version, sound recording, art reproduction, abridgment,
condensation, or any other form in which a work may be recast, transformed, or adapted.” 17 U.S.C. § 101.
109
    17 U.S.C. §§ 203(b)(1), 304(c)(6)(A).
110
    1976 House Report, supra note 1, at 127.
111
    R. Doc 12-1, at 6.

                                                        40
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and citations omitted). But this strict approach to territoriality was rejected by the majority in

Kirtsaeng and should be here as well. Moreover, like with questions of initial ownership, questions

regarding licenses and ownership through assignment have routinely been answered using the laws

of the country with the most significant relationship112 to the work concerned. See, e.g., Mapp, 208

F. Supp. 3d at 793–94 (regarding licenses); Creazioni Artistiche Musicali, S.r.l. v. Carlin Am., Inc.,

2016 WL 7507757, at *3 (S.D.N.Y. Dec. 30, 2016); Dish Network L.L.C. v. TV Net Sols., LLC,

2014 WL 6685351, at *3 (M.D. Fla. Nov. 25, 2014). In this case, there can really be no dispute as

to which country has the most significant relationship with Double Shot. The United States is the

country of origin for the copyright therein, the parties to the 1963 Assignment are American, the

1963 Assignment was executed in the United States and provides that all disputes will be resolved

under New York law.113 Accordingly, the United States is the only country with any relationship

to Double Shot and the 1963 Assignment, including the transfer of copyright ownership therein.

As such, reversion thereof should be given full effect without regard to any other country’s laws.

                                                      ***

        In summary, the 1976 Act provided Mr. Vetter with an inalienable right to terminate the

transfer of copyright ownership in the 1963 Assignment. Upon reversion of the Terminated

Copyright Interest, all of the defendant’s rights in the Renewal Copyright derived from Mr.

Vetter’s prior assignment were cut off. There is no support in the 1976 Act, textual or otherwise,

for the notion that the Terminated Copyright Interest is geographically limited, and the judicial

decisions cited by the defendant have been called into serious doubt by the Supreme Court’s

decision in Kirtsaeng. Lastly, the defendant cannot invoke territoriality principles to defeat the



112
  Courts have looked to the Restatement (Second) of Conflict of Laws § 6 (1971) to make this determination.
113
  See R. Doc. 1-2, at 2, ¶16 (noting New York law will govern); This supports a finding that the parties expected
United States law to govern issues relating to ownership and assignment. See Creazioni, 2016 WL 7507757, at *4.

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plaintiffs’ claim, as questions of ownership regarding the Terminated Copyright Interest must be

decided under United States law. For all of the foregoing reasons, Count Two states a cognizable

claim and, accordingly, the Court should deny the Motion to Dismiss as to Count Two.

                                             Conclusion

       As the Court no doubt appreciates, the issue presented in this case is of vital importance to

authors and their heirs. The plaintiffs certainly appreciate the unprecedented nature of their request.

But the mere fact that seemingly no one has challenged objectionable interpretations of the

Copyright Act does not detract from the strength of the plaintiffs’ arguments. As established

herein, the history and text of the Copyright Act, as well as the policy considerations that come

with it, favor the plaintiffs. The defendant and his predecessors have enjoyed the fruits of Mr.

Smith and Mr. Vetter’s creative labor long enough. The Copyright Act ensures that those fruits are

eventually returned to the plaintiffs to enjoy in full and without the defendant’s participation or

interference. Accordingly, the Motion to Dismiss should be denied.

                                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 5, 2024, a copy of the foregoing was filed electronically

with the Clerk of Court using the CM/ECF system. Notice of this filing will be served upon all

counsel of record by operation of the Court’s electronic filing system.

                                      /s/ Timothy Kappel




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